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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-206-GEB
                  Plaintiff,      )
13                                )      STIPULATION AND [PROPOSED]
             v.                   )      ORDER
14                                )
     DELMAR LAGRIMAS,             )      DATE: June 26, 2009
15   LEOBARDO OLAZABAL CARRANZA, )       TIME: 9:00 a.m.
                                  )      JUDGE: Hon. Garland E. Burrell Jr.
16                Defendants.     )
                                  )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through MARY GRAD, Assistant U.S. Attorney, and defendants,
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     DELMAR LAGRIMAS by and through his counsel, BENJAMIN GALLOWAY,
21
     Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by and
22
     through his counsel, GILBERT A. ROQUE, that the status conference set
23
     for Friday, June 26, 2009 be continued to Friday, August 14, 2009 at
24
     9:00 a.m..
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        The reason for this continuance is to allow defense counsel
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     additional time to review discovery with the defendants, to examine
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     possible defenses and to continue investigating the facts of the case.
28
           Case 2:09-cr-00206-GEB Document 15 Filed 06/23/09 Page 2 of 3


1       It is further stipulated that the time period from the date of this
2    stipulation, June 23, 2009, through and including the date of the new
3    status conference hearing, August 14, 2009, shall be excluded from
4    computation of time within which the trial of this matter must be
5    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
7    prepare].
8
9    DATED: June 18, 2009           Respectfully submitted,
                                    DANIEL J. BRODERICK
10                                  Federal Defender
11                                  /s/ Benjamin Galloway
                                    BENJAMIN GALLOWAY
12                                  Assistant Federal Defender
                                    Attorney for Defendant
13                                  DELMAR LAGRIMAS
14                                  /s/ Benjamin Galloway for
                                    GILBERT A. ROQUE
15                                  Attorney for Defendant
                                    LEOBARDO OLAZABAL CARRANZA
16
17
18   DATED: June 18, 2009           LAWRENCE G. BROWN
                                    Acting United States Attorney
19
                                    /s/ Benjamin Galloway for
20                                  MARY GRAD
                                    Assistant U.S. Attorney
21                                  Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 15 Filed 06/23/09 Page 3 of 3


1                                      O R D E R
2          IT IS SO ORDERED.    Time is excluded from today’s date through and
3    including August 14, 2009 in the interests of justice pursuant to 18
4    U.S.C. §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code
5    T4.
6    Dated:    June 22, 2009
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8                                        GARLAND E. BURRELL, JR.
9                                        United States District Judge

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